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                 EXHIBIT B-084
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                    IN THE SUPERIOR COURT OF FULTON COUNTY                          FILED IN OFFICE
                                     STATE OF GEORGIA
                                                                                         AU                 2
INRE:                                         )                                     DEPUTY CL               R COURT

                                              )       2022-EX-000024              --     F I   I      . '    \


SPECIAL PURPOSE GRAND JURY                    )
                                              )       Judge Robert C. I. McBurney


             DISTRICT ATTORNEY'S RESPONSE TO MOTION TO QUASH
                 GRAND JURY SUBPOENA BY KENNETH CHESEBRO


        COMES NOW District Attorney Fani T. Willis, Atlanta Judicial Circuit, by and through

the undersigned counsel, in response to the Witness's Motion to Quash Grand Jury Subpoena by

Kenneth Chesebro, and respectfully requests that this Honorable Court deny the motion on the

pleadings and order the Witness to appear as scheduled, and in support says as follows:

        1. The District Attorney largely agrees with the facts as set forth by the Witness, in that

           the District Attorney obtained a Certificate of Material Witness for the Witness, the

           Certificate of Material Witness was presented to a judge of the New York County

           Supreme Court, and the Witness was ordered to appear before the special purpose

           grand jury on August 30, 2022, by the New York judge.

        2. Further, the District Attorney agrees that certain information known to the Witness

           may be protected by both the attorney-client privilege and the duty of confidentiality.

           Still, it must be noted that while the Witness argues that "many, if not most, of the

           DA's questions at the Grand Jury will implicate the attorney-client privilege," the

           Witness makes no showing that all of the information sought by the special purpose

           grand jury will implicate privilege.
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3. This Court has heard and ruled on multiple similar motions to quash subpoenas issued

   on behalf of the special purpose grand jury where certain privileges have been cited

   as grounds for total quashal. The privileges claimed by other witnesses have been

   wide-ranging -    including legislative privilege, attorney-client privilege, and the

   privilege against self-incrimination.

4. In each of those circumstances, the Court has appropriately declined to order total

   quashal because, each time, at least some information sought by the special purpose

   grand jury fell outside the bounds of the claimed privileges, and the Court has

   established a procedure by which witnesses can assert objections based on privilege

   to individual questions where appropriate that can be ruled on individually.

5. The District Attorney has identified certain areas of questioning that fall squarely

   outside the attorney-client privilege and duty of confidentiality, and they were set

   forth in both the Certificate of Material Witness and the accompanying petition.

   These areas include, among others, communications between the Witness and third-

   party members of the Georgia Republican Party - without the participation of the

   Trump Campaign - advising the third-party individuals on "the practical logistics" of

   the December 14, 2020, meeting of purported electors at the Georgia State Capitol.

   These practical logistics include instructions on documents to be used at the meeting,

   instructions for mailing those documents, and a draft press release. Other areas that

   fall outside the claimed privileges include the Witness's own prior legal experience

   including his experience with election law, how the Witness came to be involved with

   efforts following the November 2020 election, the Witness's relationships with others

   involved in these efforts prior to the establishment of any attorney-client relationship,
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           and other third-party communications that do not fall within any of the claimed

           privileges.

       6. Consistent with this, our appellate courts have held that total quashal of a subpoena is

           not required where some information sought by the subpoena falls outside of a

           claimed privilege and where the trial court establishes some procedure to ensure that

           privileged information is protected. See, e.g., In re Morris Communs. Co., 258 Ga.

           App. 154 (2002).

       7. Accordingly, because some of the information sought by the subpoena falls outside

           the attorney-client privilege and the duty of confidentiality and because the Court has

           established a procedure through which the Witness can assert objections to individual

           questions to ensure that privileged information is protected, the Court should deny the

           motion to quash on the pleadings and order the Witness to appear as scheduled.

       WHEREFORE, based on the foregoing facts and law, the District Attorney respectfully

requests that this Court deny the motion to quash on the pleadings and order the Witness to appear

as scheduled.

       Respectfully submitted this the 26th day of August, 2022,

                                                     FANI T. WILLIS




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                                                     Third Floor
                                                     Atlanta, Georgia 30303
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing District Attorney's Response to Motion to
Quash Grand Jury Subpoena by Kenneth Chesebro has been served upon Scott R. Grubman,
counsel for the Witness, via electronic mail, this the 26th day of A ust,




                                                    Dep       i ict     omey
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